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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

1.     JOANNA HOUSE,                               )
                                                   )
                     Plaintiff,                    )
v.                                                 )       CIV-15-579-F
                                                   )
1.     SCIENTIFIC GAMES                            )
       INTERNATIONAL, INC.,                        )
                                                   )       ATTORNEY LIEN CLAIMED
                     Defendant.                    )       JURY TRIAL DEMANDED

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the Plaintiff,

Joanna House, hereby stipulates with the Defendant, Scientific Games International, Inc., that

her claims in the above styled and numbered action shall be dismissed with prejudice. The

parties shall bear their own costs and attorney fees.

       RESPECTFULLY SUBMITTED THIS 12th DAY OF FEBRUARY, 2016.

                                            s/Lauren W. Johnston
                                            Jana B. Leonard, OBA # 17844
                                            Lauren W. Johnston, OBA # 22341
                                            LEONARD & ASSOCIATES, P.L.L.C.
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                                            Counsel for Plaintiff


                                             s/Jessica L. Craft
                                            (Signed with permission)
                                            Michael L. Carr, OBA #17805

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                          Jessica L. Craft, OBA #31126
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